                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                           Plaintiff,

      V.                                              Case No. 20-CR-26

YOUSEF 0. BARASNEH,

                           Defendant.



                                 PLEA AGREEMENT



     1.       The United States of America, by its attorneys, Matthew D. Krueger,

United States Attorney for the Eastern District of Wisconsin, and Benjamin Proctor,

Assistant United States Attorney, and the defendant, Yousef 0. Barasneh,

individually and by attorney John Campion, pursuant to Rule 11 of the Federal

Rules of Criminal Procedure, enter into the following plea agreement:

                                        CHARGES

     2.       The defendant has been charged in a one-count indictment, which

alleges a violation of Title 18, United States Code, Section 241.

     3.       The defendant has read and fully understands the charge contained in

the indictment. He fully understands the nature and elements of the crime with

which he has been charged, and the charge and the terms and conditions of the plea

agreement have been fully explained to him by his attorney.




          Case 2:20-cr-00026-PP Filed 07/17/20 Page 1 of 15 Document 31
      4.      The defendant voluntarily agrees to plead guilty to the following count

set forth in full as follows:

                                      COUNT ONE
                               (Conspiracy Against Rights)
             THE GRAND JURY CHARGES THAT:
             1.      At all times material to this indictment, Yousef 0.
      Barasneh was a member of "The Base," a white-supremacist group.
             2.      At all times material to this indictment, the Beth Israel
      Sinai Congregation was an organization consisting of Jewish members
      and guests who worshiped and conducted other religious activities in a
      building located at 3009 Washington Avenue, Racine, Wisconsin,
      which served as a synagogue.
             3.      From on or about September 15, 2019, and continuing
      through on or about September 23, 2019, in the State and Eastern
      District of Wisconsin and elsewhere,
                                YOUSEF 0. BARASNEH
      knowingly and willfully conspired and agreed with other persons
      known and unknown to the grand jury, to injure, oppress, threaten,
      and intimidate non-white and Jewish citizens of the United States in
      the free exercise and enjoyment of the right secured by the
      Constitution and laws of the United States, to hold and use real and
      personal property in the same manner as that right is enjoyed by white
      citizens, as guaranteed by Title 42, United States Code, Section 1982.
             4.     It was a plan and purpose of the conspiracy that
      Barasneh and his co-conspirators take action against property
      associated with non-white and Jewish citizens to show the strength
      and cohesion of "The Base."
             5.     In furtherance of the conspiracy, Barasneh and his co-
      conspirators used a messaging platform through which they discussed
      vandalizing property associated with African Americans and Jewish
      Americans and agreed that they should take action between
      September 20, 2019, and September 25, 2019, to vandalize such
      property.
             6.     In furtherance of the conspiracy, on or about September
      21, 2019, Barasneh spray-painted anti-Semitic symbols and language
      on the Beth Israel Sinai Congregation building in Racine, Wisconsin.
             All in violation of Title 18, United States Code, Section 241.

     5.       The defendant acknowledges, understands, and agrees that he is, in

fact, guilty of the offense described in paragraph 4. The parties acknowledge and

understand that if this case were to proceed to trial, the government would be able
                                          2

          Case 2:20-cr-00026-PP Filed 07/17/20 Page 2 of 15 Document 31
to prove the following facts beyond a reasonable doubt. The defendant admits that

these facts are true and correct and establish his guilt beyond a reasonable doubt:

      At all times relevant, Barasneh was a member of "The Base," a neo-
      Nazi group that aims to unify militant white supremacists around the
      globe and provide them with paramilitary training in preparation for a
      "race war." Barasneh and other members of The Base communicated
      with each other through online platforms and encrypted online
      messaging applications. In these communications, Barasneh and
      others discussed, among other things, acts of violence against Jewish
      Americans and non-white Americans, Base military training camps,
      and ways to make improvised explosive devices.

      Starting around September 13, 2019, and continuing through around
      September 21, 2019, Barasneh participated in an online group chat
      with other Base members, including R.T., during which they agreed to
      oppress, threaten, and intimate African-Americans and Jewish
      Americans, who they viewed as enemies of the white race. A purpose of
      the agreement was to show the strength and cohesion of The Base, as
      well as to terrorize Jewish citizens so they would fear for their physical
      safety and refrain from freely exercising their rights to use and hold
      property in the same manner as non-Jewish white citizens. To this
      end, R.T. directed that between September 20-25, 2019, Base members
      should vandalize property owned by or associated with non-white and
      Jewish Americans. For example, R.T. told the group to "get out and
      act. Flyers, windows, and tires." He noted that arsons, breaking
      windows, and slashing tires are near impossible to track. In response
      to R.T.'s statements, Barasneh responded, "I agree with that. . .
      calculated action." Barasneh went on to write "imagine if across the
      country on local news, Everyone is reporting on new nazi presence."
      R.T. responded as part of the chat, "20th-25th, vandalize my friends.
      We'll push back on the enemy as they push bacjk [sic]." Another
      member of the chat wrote "No point in random vandalizing... Much
      more effective if its targeted," to which Barasneh responded "A A MAKE
      IT WORTH IT." As part of the chat, Barasneh wrote "Take your time,
      plan your out your AO." Later on in the group chat, Barasneh wrote,
      "Our op will be a perfect fuck you to these kikes if we become
      terrorists." R.T. later wrote a long entry titled "Operation
      Kristallnacht," discussing why this was the time to act, to which
      Barasneh responded "Sieg Heil."

      Following this agreement among Base members to terrorize non-white
      and Jewish Americans, Barasneh searched the internet for Jewish
      targets in Wisconsin. For instance, Barasneh's Google search history
                                          3

       Case 2:20-cr-00026-PP Filed 07/17/20 Page 3 of 15 Document 31
       shows that on September 20, 2019, he searched for "jewish wisconsin"
       and "nazi propaganda," and he visited the website of the Beth Israel
       Sinai Congregation, in Racine, Wisconsin. Thereafter, on the evening
       of September 21, 2019, Barasneh went to the Beth Israel Sinai
       Congregation synagogue in Racine and spray-painted anti-Semitic
       words and phrases, as well as a swastika and the symbol for "The
       Base," on various parts of the building. The Beth Israel Sinai
       Congregation is organization consisting of Jewish members and guests
       who worshiped and conducted other religious activities at the Racine
       synagogue.

       On or around September 22-23, 2019, after he vandalized the Beth
       Israel Sinai Congregation synagogue, Barasneh used Google to search
       for news about the vandalism. Barasneh then sent links to news
       stories about the crime to R.T., confirming that he (Barasneh) followed
       through on their agreement.

       This information is provided for the purpose of setting forth a factual basis

for the plea of guilty. It is not a full recitation of the defendant's knowledge of, or

participation in, the offense.

                                      PENALTIES

     6.         The parties understand and agree that the offense to which the

defendant will enter a plea of guilty carries the following maximum term of

imprisonment and fine: up to 10 years in prison; a fine of up to 250,000; up to 3

years of supervised release; and a $100 mandatory special assessment. The parties

further recognize that a restitution order may be entered by the court.

     7.         The defendant acknowledges, understands, and agrees that he has

discussed the relevant statutes as well as the applicable sentencing guidelines with

his attorney.




                                            4

          Case 2:20-cr-00026-PP Filed 07/17/20 Page 4 of 15 Document 31
                                      ELEMENTS

      8.        The parties understand and agree that in order to sustain the charge

of conspiracy against rights as set forth in Count One, the government must prove

each of the following propositions beyond a reasonable doubt:

   1. The conspiracy to injure, oppress, threaten, or intimidate one or more persons
      as charged in Count One existed; and

   2. The defendant knowingly became a member of the conspiracy with an intent
      to further the conspiracy; and

   3. The defendant intended to deprive non-white or Jewish citizens in the free
      exercise or enjoyment of the right to hold or use real or personal property in
      the same manner as that right is enjoyed by white citizens, which is secured
      by the Constitution or laws of the United States. The government is not
      required to prove that the defendant knew this right was secured by the
      Constitution or laws of the United States;

   4. One or more of the intended victims was present in a State of the United
      States.
                             SENTENCING PROVISIONS

      9.       The parties agree to waive the time limits in Fed. R. Crim. P. 32

relating to the presentence report, including that the presentence report be

disclosed not less than 35 days before the sentencing hearing, in favor of a schedule

for disclosure, and the filing of any objections, to be established by the court at the

change of plea hearing.

     10.       The parties acknowledge, understand, and agree that any sentence

imposed by the court will be pursuant to the Sentencing Reform Act, and that the

court will give due regard to the Sentencing Guidelines when sentencing the

defendant.



                                           5

           Case 2:20-cr-00026-PP Filed 07/17/20 Page 5 of 15 Document 31
     11.     The parties acknowledge and agree that they have discussed all of the

sentencing guidelines provisions which they believe to be applicable to the offense

set forth in paragraph 4. The defendant acknowledges and agrees that his attorney

in turn has discussed the applicable sentencing guidelines provisions with him to

the defendant's satisfaction.

     12.     The parties acknowledge and understand that prior to sentencing the

United States Probation Office will conduct its own investigation of the defendant's

criminal history. The parties further acknowledge and understand that, at the time

the defendant enters a guilty plea, the parties may not have full and complete

information regarding the defendant's criminal history. The parties acknowledge,

understand, and agree that the defendant may not move to withdraw the guilty plea

solely as a result of the sentencing court's determination of the defendant's criminal

history.

                        Sentencing Guidelines Calculations

     13.     The defendant acknowledges and understands that the sentencing

guidelines recommendations contained in this agreement do not create any right to

be sentenced within any particular sentence range, and that the court may impose a

reasonable sentence above or below the guideline range. The parties further

understand and agree that if the defendant has provided false, incomplete, or

inaccurate information that affects the calculations, the government is not bound to

make the recommendations contained in this agreement.




                                          6

       Case 2:20-cr-00026-PP Filed 07/17/20 Page 6 of 15 Document 31
                                   Relevant Conduct

     14.      The parties acknowledge, understand, and agree that pursuant to

Sentencing Guidelines Manual (U.S.S.G.) § 1B1.3, the sentencing judge may

consider relevant conduct in calculating the sentencing guidelines range, even if the

relevant conduct is not the subject of the offense to which the defendant is pleading

guilty.

                                  Base Offense Level

     15.      The parties understand that the government will recommend to the

sentencing court that the applicable base offense level for the offense is 12 under

U.S.S.G. § 2111.1(a)(2).

                                Hate Crime Motivation

     16.      The parties understand that the government will recommend to the

sentencing court that a 3-level increase for selecting victims and property based on

religion/ethnicity is applicable under U.S.S.G. § 3A1.1(a).

                             Acceptance of Responsibility

     17.      The government agrees to recommend a two-level decrease for

acceptance of responsibility as authorized by Sentencing Guidelines Manual

§ 3E1.1(a), but only if the defendant exhibits conduct consistent with the acceptance

of responsibility. The defendant acknowledges, understands, and agrees that

conduct consistent with the acceptance of responsibility includes but is not limited

to the defendant's voluntary identification and disclosure to the government of any

and all actual or potential victims of the offense prior to sentencing.


                                           7

          Case 2:20-cr-00026-PP Filed 07/17/20 Page 7 of 15 Document 31
                           Sentencing Recommendations

     18.     Both parties reserve the right to provide the district court and the

probation office with any and all information which might be pertinent to the

sentencing process, including but not limited to any and all conduct related to the

offense as well as any and all matters which might constitute aggravating or

mitigating sentencing factors.

     19.     Both parties reserve the right to make any recommendation regarding

any and all factors pertinent to the determination of the sentencing guideline range;

the fine to be imposed; the amount of restitution and the terms and condition of its

payment; the length of supervised release and the terms and conditions of the

release; the defendant's custodial status pending the sentencing; and any other

matters not specifically addressed by this agreement.

     20.     The government agrees to recommend a sentence within the applicable

sentencing guideline range, as determined by the court.

                       Court's Determinations at Sentencing

     21.     The parties acknowledge, understand, and agree that neither the

sentencing court nor the United States Probation Office is a party to or bound by

this agreement. The United States Probation Office will make its own

recommendations to the sentencing court. The sentencing court will make its own

determinations regarding any and all issues relating to the imposition of sentence

and may impose any sentence authorized by law up to the maximum penalties set

forth in paragraph 6 above. The parties further understand that the sentencing

court will be guided by the sentencing guidelines but will not be bound by the
                                          8

       Case 2:20-cr-00026-PP Filed 07/17/20 Page 8 of 15 Document 31
sentencing guidelines and may impose a reasonable sentence above or below the

calculated guideline range.

     22.        The parties acknowledge, understand, and agree that the defendant

may not move to withdraw the guilty plea solely as a result of the sentence imposed

by the court.

                                FINANCIAL MATTERS

     23.        The defendant acknowledges and understands that any and all

financial obligations imposed by the sentencing court are due and payable in full

upon entry of the judgment of conviction. The defendant further understands that

any payment schedule imposed by the sentencing court shall be the minimum the

defendant is expected to pay and that the government's collection of any and all

court imposed financial obligations is not limited to the payment schedule. The

defendant agrees not to request any delay or stay in payment of any and all

financial obligations. If the defendant is incarcerated, the defendant agrees to

participate in the Bureau of Prisons' Inmate Financial Responsibility Program,

regardless of whether the court specifically directs participation or imposes a

schedule of payments.

     24.        The defendant agrees to provide to the Financial Litigation Unit

(FLU) of the United States Attorney's Office, at least 30 days before sentencing, and

also upon request of the FLU during any period of probation or supervised release

imposed by the court, a complete and sworn financial statement on a form provided

by FLU and any documentation required by the form. The defendant further agrees,

upon request of FLU whether made before or after sentencing, to promptly:
                                           9

       Case 2:20-cr-00026-PP Filed 07/17/20 Page 9 of 15 Document 31
cooperate in the identification of assets in which the defendant has an interest,

cooperate in the liquidation of any such assets, and participate in an asset

deposition.

                                    Special Assessment

     25.         The defendant agrees to pay the special assessment in the amount of

$100 prior to or at the time of sentencing.

                                        Restitution

     26.         The defendant agrees to pay restitution as ordered by the court. The

defendant understands that because restitution for the offense is mandatory, the

amount of restitution shall be imposed by the court regardless of the defendant's

financial resources. The defendant agrees to cooperate in efforts to collect the

restitution obligation. The defendant understands that imposition or payment of

restitution will not restrict or preclude the filing of any civil suit or administrative

action.

                          DEFENDANTS WAIVER OF RIGHTS

     27.         In entering this agreement, the defendant acknowledges and

understands that he surrenders any claims he may have raised in any pretrial

motion, as well as certain rights which include the following:

            a.     If the defendant persisted in a plea of not guilty to the charges
                   against him, he would be entitled to a speedy and public trial by a
                   court or jury. The defendant has a right to a jury trial. However, in
                   order that the trial be conducted by the judge sitting without a jury,
                   the defendant, the government and the judge all must agree that
                   the trial be conducted by the judge without a jury.

            b.     If the trial is a jury trial, the jury would be composed of twelve
                   citizens selected at random. The defendant and his attorney would
                                            10

          Case 2:20-cr-00026-PP Filed 07/17/20 Page 10 of 15 Document 31
                   have a say in who the jurors would be by removing prospective
                   jurors for cause where actual bias or other disqualification is
                   shown, or without cause by exercising peremptory challenges. The
                   jury would have to agree unanimously before it could return a
                   verdict of guilty. The court would instruct the jury that the
                   defendant is presumed innocent until such time, if ever, as the
                   government establishes guilt by competent evidence to the
                   satisfaction of the jury beyond a reasonable doubt.

           c.      If the trial is held by the judge without a jury, the judge would find
                   the facts and determine, after hearing all of the evidence, whether
                   or not he was persuaded of defendant's guilt beyond a reasonable
                   doubt.

           d.     At such trial, whether by a judge or a jury, the government would
                  be required to present witnesses and other evidence against the
                  defendant. The defendant would be able to confront witnesses upon
                  whose testimony the government is relying to obtain a conviction
                  and he would have the right to cross-examine those witnesses. In
                  turn the defendant could, but is not obligated to, present witnesses
                  and other evidence on his own behalf. The defendant would be
                  entitled to compulsory process to call witnesses.

           e.     At such trial, defendant would have a privilege against self-
                  incrimination so that he could decline to testify and no inference of
                  guilt could be drawn from his refusal to testify. If defendant desired
                  to do so, he could testify on his own behalf.

     28.        The defendant acknowledges and understands that by pleading guilty

he is waiving all the rights set forth above. The defendant further acknowledges the

fact that his attorney has explained these rights to him and the consequences of his

waiver of these rights. The defendant further acknowledges that as a part of the

guilty plea hearing, the court may question the defendant under oath, on the record,

and in the presence of counsel about the offense to which the defendant intends to

plead guilty. The defendant further understands that the defendant's answers may

later be used against the defendant in a prosecution for perjury or false statement.


                                            11

      Case 2:20-cr-00026-PP Filed 07/17/20 Page 11 of 15 Document 31
     29.     The defendant acknowledges and understands that he will be

adjudicated guilty of the offense to which he will plead guilty and thereby may be

deprived of certain rights, including but not limited to the right to vote, to hold

public office, to serve on a jury, to possess firearms, and to be employed by a

federally insured financial institution.

     30.     The defendant knowingly and voluntarily waives all claims he may

have based upon the statute of limitations, the Speedy Trial Act, and the speedy

trial provisions of the Sixth Amendment. The defendant agrees that any delay

between the filing of this agreement and the entry of the defendant's guilty plea

pursuant to this agreement constitutes excludable time under the Speedy Trial Act.

                       Further Civil or Administrative Action

     31.     The defendant acknowledges, understands, and agrees that the

defendant has discussed with his attorney and understands that nothing contained

in this agreement, including any attachment, is meant to limit the rights and

authority of the United States of America or any other state or local government to

take further civil, administrative, or regulatory action against the defendant,

including but not limited to any listing and debarment proceedings to restrict rights

and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                GENERAL MATTERS

     32.     The parties acknowledge, understand, and agree that this agreement

does not require the government to take, or not to take, any particular position in

any post-conviction motion or appeal.
                                           12

       Case 2:20-cr-00026-PP Filed 07/17/20 Page 12 of 15 Document 31
     33.     The parties acknowledge, understand, and agree that the United

States Attorney's office is free to notify any local, state, or federal agency of the

defendant's conviction.

     34.     The defendant understands that pursuant to the Victim and Witness

Protection Act, the Justice for All Act, and regulations promulgated thereto by the

Attorney General of the United States, the victim of a crime may make a statement

describing the impact of the offense on the victim and further may make a

recommendation regarding the sentence to be imposed. The defendant

acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.

           EFFECT OF DEFENDANTS BREACH OF PLEA AGREEMENT

     35.     The defendant acknowledges and understands if he violates any term

of this agreement at any time, engages in any further criminal activity prior to

sentencing, or fails to appear for sentencing, this agreement shall become null and

void at the discretion of the government. The defendant further acknowledges and

understands that the government's agreement to dismiss any charge is conditional

upon final resolution of this matter. If this plea agreement is revoked or if the

defendant's conviction ultimately is overturned, then the government retains the

right to reinstate any and all dismissed charges and to file any and all charges

which were not filed because of this agreement. The defendant hereby knowingly

and voluntarily waives any defense based on the applicable statute of limitations for

any charges filed against the defendant as a result of his breach of this agreement.

The defendant understands, however, that the government may elect to proceed
                                           13

       Case 2:20-cr-00026-PP Filed 07/17/20 Page 13 of 15 Document 31
with the guilty plea and sentencing. If the defendant and his attorney have signed a

proffer letter in connection with this case, then the defendant further acknowledges

and understands that he continues to be subject to the terms of the proffer letter.

                   VOLUNTARINESS OF DEFENDANTS PLEA

     36.     The defendant acknowledges, understands, and agrees that he will

plead guilty freely and voluntarily because he is in fact guilty. The defendant

further acknowledges and agrees that no threats, promises, representations, or

other inducements have been made, nor agreements reached, other than those set

forth in this agreement, to induce the defendant to plead guilty.




                                         14

      Case 2:20-cr-00026-PP Filed 07/17/20 Page 14 of 15 Document 31
                             ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I
am not now on or under the influence of any drug, medication, alcohol, or other
intoxicant or depressant, whether or not prescribed by a physician, which would
impair my ability to understand the terms and conditions of this agreement. My
attorney has reviewed every part of this agreement with me and has advised me of
the implications of the sentencing guidelines. I have discussed all aspects of this
case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



Date:    77
                                       Defendant


I am the defendant's attorney. I carefully have reviewed every part of this
agreement with the defendant. To my knowledge, my client's decision to enter into
this agreement is an informed and voluntaiy. one.



Date: 07
                                               ANIPION
                                          cr ey for Defend


For the United States of America:



Date:
                                           THEW D. KRUEGER
                                       United States Attorney

                                                       Digitally signed by BENJAMIN
                                       BENJAMIN        PROCTOR
                                                       Date: 2020.07,1010:22:33
Date:    07-16-2020                    PROCTOR
                                       BENJAMIN PROCTOR
                                       Assistant United States Attorney



                                         15


     Case 2:20-cr-00026-PP Filed 07/17/20 Page 15 of 15 Document 31
